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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION


DONAHUE LAND, LLC, and                        )
LAKE MARTIN, INC.,                            )
                                              )
            Plaintiffs,                       )
                                              )
      v.                                      )         CASE NO. 3:19-cv-00820-ECM
                                              )                    (WO)
THE CITY OF AUBURN,                           )
                                              )
            Defendant.                        )


                      MEMORANDUM OPINION and ORDER

                                 I.     INTRODUCTION

       On January 4, 2019, Donahue Land, LLC and Lake Martin, Inc. (collectively

“Plaintiffs”) filed a Petition for Writ of Mandamus in the Circuit Court of Lee County,

Alabama. The Plaintiffs sought to compel the City Council to vote on their petition to de-

annex thirteen acres of land from the municipal limits of the City of Auburn (the “City”).

The Plaintiffs subsequently amended their complaint to bring an equal protection claim

against the City. (Doc. 1-10). The City in turn removed the case to this Court under 28

U.S.C. § 1331 federal question jurisdiction on October 23, 2019. Thereafter, the Plaintiffs

filed a Second Amended Complaint (doc. 13), which is the operative complaint.

       The matter now before the Court is the City’s Motion to Dismiss the Plaintiffs’

Second Amended Complaint and Verified Petition for Writ of Mandamus. (Doc. 20). The

Plaintiffs argue that the City violated their legal right to have their petition for de-
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annexation heard and voted on by the City Council, and, in doing so, the City further

violated their rights to equal protection and due process under the Fourteenth Amendment.

The Plaintiffs bring a petition for writ of mandamus, two counts of violations of the Equal

Protection Clause, and one count of a procedural due process violation. They request that

the Court issue a writ of mandamus and enter an injunction requiring the City to cease

violations of the Equal Protection Clause by creating a clearly articulable standard for

considering de-annexation petitions and by voting on the Plaintiffs’ petition.

       For the following reasons, the City’s Motion to Dismiss is due to be GRANTED.

                                   II.    BACKGROUND

       The Plaintiffs are two entities who collectively own thirteen acres of land within the

City limits, Parcels A-1-B and A-1-A of the Donahue Ridge Subdivision of Parcel A. On

June 8, 2018, the Plaintiffs petitioned the City Council of Auburn to allow the de-

annexation of the two Parcels from the municipal limits. In Auburn, individual owners

submit their petitions for annexation or de-annexation to the City Council, which must

formally vote to approve a petition. When the City Council did not take up the Plaintiffs’

petition for a vote, the Plaintiffs sent separate emails about the petition to the City

Manager’s office on June 14, 2018; July 2, 2018; and August 2, 2018. On October 19,

2018, the Plaintiffs renewed their request to be placed on a meeting agenda.

       Despite these requests, the City Council did not bring the petition up for a vote. The

City follows a policy set in 2010 for de-annexation petitions. According to the policy, “the

City Council is generally not interested in reducing the corporate limits of the City.” (Doc.

13-3 at 38). The policy provides that when a citizen of the City submits a petition for de-
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annexation to the City Council, they first contact the City’s Planning Director. Id. at 2.

Upon review by the Director for appropriateness, the petition is forwarded to the City

Manager. The City Manager then sends a memorandum regarding the request to the City

Council members to determine whether any members wish to discuss or “sponsor” the

petition. If at least one Council member chooses to sponsor the petition, it will be placed

on a City Council meeting agenda. Finally, once the Council publicly hears the petition, it

will then vote on the petition. Because no City Council members chose to sponsor the

Plaintiffs’ petition, the petition was never brought to a vote.

                                    III.    JURISDICTION

       The Court maintains jurisdiction over the claims in this case pursuant to 28 U.S.C.

§§ 1331, 1441(a), 1441(c)(1)(A), 1441(c)(1)(B), and 1446.

       Venue and personal jurisdiction are uncontested.

                                 IV.       LEGAL STANDARD

       A Rule 12(b)(6) motion to dismiss tests the sufficiency of the complaint against the

legal standard set forth in Rule 8: “a short and plain statement of the claim showing that

the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “To survive a motion to dismiss,

a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U. S. 662, 678 (2009) (quoting

Bell Atl. Corp. v. Twombly, 550 U. S. 544, 570 (2007)).

       “Determining whether a complaint states a plausible claim for relief [is] ... a context-

specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Id. at 663 (alteration in original) (citation omitted). The plausibility
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standard requires “more than a sheer possibility that a defendant has acted unlawfully.” Id.

at 678. Conclusory allegations that are merely “conceivable” and fail to rise “above the

speculative level” are insufficient to meet the plausibility standard. Twombly, 550 U. S. at

555, 570. This pleading standard “does not require ‘detailed factual allegations,’ but it

demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”

Iqbal, 556 U.S. at 678. Indeed, “[a] pleading that offers ‘labels and conclusions’ or ‘a

formulaic recitation of the elements of a cause of action will not do.’” Id.

                                      V.     DISCUSSION

   A. Count One: Writ of Mandamus

       The Plaintiffs seek a writ of mandamus “commanding and directing the City to de-

annex the Plaintiffs’ property from within the City’s boundaries, or alternatively, to at least

take such action as necessary to vote upon an ordinance that would de-annex the Property

from within the city boundaries.” (Doc. 13 at 11–12, para. A). Addressing the Plaintiffs’

cause of action for mandamus relief, the parties assert that this is a state law cause of action

and cite to Alabama law. However, writs of mandamus were abolished by Rule 81 of the

Federal Rules of Civil Procedure. Fed. R. Civ. P. 81(b)–(c) (providing that writs of

“mandamus are abolished” and noting that this rule applies “to a civil action after it is

removed from a state court”). Although pursuant to 28 U.S.C. § 1651 federal courts “may

issue all writs necessary or appropriate in aid of their respective jurisdictions and agreeable

to the usages and principles of law,” the parties do not address the Court’s power to issue

writs pursuant to this statutory authority, and the Court declines to independently undertake

such analysis. To the extent Plaintiffs’ petition for writ of mandamus could be construed
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as a request for injunctive relief, an injunction is an equitable remedy, not an independent

cause of action. In any event, the Plaintiffs seek injunctive relief for their claims brought

pursuant to the Equal Protection Clause of the Fourteenth Amendment. Because the

Plaintiffs cannot maintain their independent cause of action for a writ of mandamus, that

claim is due to be dismissed.

       Even if the Plaintiffs could assert a viable cause of action for a writ of mandamus,

they would not be entitled to the relief sought. Despite the Plaintiffs’ claim that they have

a right to a hearing and a vote on their petition, the Alabama Supreme Court foreclosed

such argument when it held that individuals do not have a right to have their petitions for

de-annexation heard under Alabama law. Courtyard Manor Homeowner’s Ass’n v. City of

Pelham, 2019 WL 5288011, at *3 (Ala. 2019). In that case, Courtyard Manor filed a suit

against the City of Pelham when the City Council failed to conduct a hearing or respond to

the plaintiff’s petition for de-annexation. Id. at *1. After a year of waiting for the City

Council to hear their petition, the plaintiff requested that the state court require the Pelham

City Council to hold a hearing on the petition. Id. The circuit court granted the defendant’s

motion to dismiss, and the Alabama Supreme Court affirmed. Id. at *4. The court

explained:

       [t]he right to petition or complain about governmental action or inaction is
       clearly within the Alabama Constitution; nothing can prevent citizens from
       asking their government to consider a request. But, requiring a response, or
       in this case mandating that a city hold a hearing, imposes a duty that does not
       exist under our law. We must respect the legislative function of governments
       and not intrude on their separate, but coequal, power to decide when, where,
       and whether to conduct hearings or respond to petitions. Legislative inaction
       in this case is cured not by court intervention, but at the ballot box.
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Id. at *3. Thus, the Alabama Supreme Court found that citizens do not have a right to have

their petitions for de-annexation voted on, “[a]bsent any abuse of discretion by the

governing body.” Id.

         The Plaintiffs seek to invoke the exception carved out by the Alabama Supreme

Court, alleging that the City abused its discretion when it “behaved arbitrary and

capriciously in sponsoring certain de-annexation petitions and not sponsoring the

Plaintiffs’ de-annexation petition, even though the petitioners were in like circumstances.” 1

(Doc. 13 at 6). However, the Plaintiffs fail to allege facts which could establish an abuse

of discretion by the City that would warrant the Court granting their petition. In an

interrogatory attached as an exhibit to the operative complaint, the City Council supplies,

“[t]he only de-annexation request considered by the current City Council was January 22,

2019.” (Doc. 13-3 at 1). The exhibit reveals that the City Council had on its January 22,

2019 meeting agenda a resolution on “[r]eduction of corporate limits” for Richard Franey

and Clay Carson to remove 0.177 acres. (Id. at 36). In agreeing to de-annex those acres,

the City would simultaneously annex the same amount of land from Farmville Tracts, LLC,

preventing any reduction of the City’s boundaries. (Id. at 24). By comparison, the Plaintiffs

seek to have thirteen acres removed from the City boundaries, inconsistent with the policy

set out by the City Council in 2010 to avoid reducing the City limits.

         It can hardly be called an abuse of discretion for the City Council to treat dissimilar

petitions in different ways. In the absence of evidence to support a finding of abuse of


1
  The Plaintiffs do not cite to any authority for the proposition that the standard for arbitrary and capricious is
interchangeable with the standard for abuse of discretion.
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discretion under Alabama law—“not merely an error of judgment, but perversity of will,

passion, or moral delinquency,” Pilcher v. City of Dothan, 93 So. 16, 18–19 (Ala. 1922)—

the Plaintiffs’ petition must be dismissed. The Plaintiffs do not present a plausible cause

of action for their petition for a writ of mandamus. Ashcroft, 556 U.S. at 678.

   B. Counts Two, Three, and Four: Fourteenth Amendment

       The Plaintiffs assert violations of their equal protection and procedural due process

rights under the Fourteenth Amendment. Although the Plaintiffs did not allege that their

Fourteenth Amendment claims are brought pursuant to 42 U.S.C. § 1983, the Court

presumes that they are. See Lyles v. Hale County Comm’n, 2005 WL 8158888, *3 (S.D.

Ala. 2005) (noting that § 1983 “serves as the basic vehicle for federal court review of

alleged state and local violations of federal law”); see also Henderson v. Corrs. Corp., 918

F. Supp. 204, 208–9 (E.D. Tenn. 1996) (“A plaintiff must allege a cause of action under

42 U.S.C. § 1983 in order to bring a claim of a constitutional violation of the . . . Fourteenth

Amendment[].”) (citing Azul-Pacifico, Inc. v. City of L.A., 973 F.2d 704, 705 (9th Cir.

1992) (“Plaintiff has no cause of action directly under the United States Constitution. We

have previously held that a litigant complaining of a violation of a constitutional right must

utilize 42 U.S.C. § 1983.”)).

   1. Equal Protection

       Even if the Court could force the City Council to put the Plaintiffs’ petition to a

vote, the Plaintiffs’ claims still would fail. The Plaintiffs allege two counts of equal

protection violations in their Second Amended Complaint. (Doc. 13 at 7–9). However,

because the same behavior serves as the basis for both claims—that the City treated
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similarly situated individuals dissimilarly—the Court will address the counts together as a

single “class of one” equal protection claim. See Griffin Indus., Inc. v. Irvin, 496 F.3d 1189,

1199 (11th Cir. 2007) (citing Village of Willowbrook v. Olech, 528 U.S. 562, 564–65

(2000)). A class of one analysis begins when plaintiffs “[allege] that [they have] been

intentionally treated differently from others similarly situated and that there is no rational

basis for the difference in treatment.” Olech, 528 U.S. at 564. Thus, the Plaintiffs must

demonstrate (1) intentional treatment different from the treatment of similarly situated

comparators, and (2) that there was no rational basis for the disparate treatment. Griffin

Indus., Inc., 496 F.3d at 1202.

       While the Plaintiffs do allege that some petitioners did have their de-annexation

petitions granted, the Plaintiffs fail to establish that those petitioners were similarly situated

comparators.    The Eleventh Circuit counsels that, in establishing a comparator, the

comparator must be “similarly situated in all material respects.” Lewis v. City of Union

City, 918 F.2d 1213, 1218 (11th Cir. 2019). However, “[a] ‘class of one’ plaintiff might

fail to state a claim by omitting key factual details in alleging that it is ‘similarly situated’

to another,” or, in the alternative, a plaintiff might provide too much information that shows

how differently they are situated from their comparators. Griffin Indus., Inc., 496 F.3d at

1205. Both deficiencies exist here. The Plaintiffs do not just omit key factual details; they

fail to allege any factual similarity between themselves and their comparators. Meanwhile,

in stating that other petitioners have had their de-annexation petitions granted, the Plaintiffs

attach evidence that points out how very differently situated those alleged comparators

really were.     When they petitioned to have their land de-annexed, the purported
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comparators here specifically avoided reducing the boundaries of the City. In contrast, the

Plaintiffs would reduce the City boundaries by thirteen acres. Accepted as true, these facts

do not establish comparators similarly situated in all material respects. See Lewis, 918 F.3d

at 1218.

       Moreover, when a government uses its discretion in a multi-dimensional decision-

making process, the challenged behavior “must be evaluated in light of the full variety of

factors that an objectively reasonable governmental decisionmaker would have found

relevant in making the challenged decision.” Griffin Indus., Inc., 496 F.3d at 1203. The

Plaintiffs make the argument that because the City does not provide specific criteria for de-

annexation, they cannot know what characteristics they have in common with their alleged

comparators. (Doc. 25 at 6–7 (“To know further what factors and criteria are relevant in

this instance is impossible, as none have been articulated by the City.”)). But the Plaintiffs

miss the point: they still need to allege facts that demonstrate their comparators are

similarly situated in all material respects to them, not just that they faced similar criteria

when petitioning the City Council. The burden is on the Plaintiffs, not the City, to make a

sufficient pleading, including facts the Court accepts as true. Without facts alleged which

point to valid comparators, the Plaintiffs do not establish a plausible claim for unequal

treatment.

   2. Procedural Due Process

       The Plaintiffs claim their due process rights were violated when the City Council

failed to place their de-annexation petition on the meeting agenda, discuss the petition, and

bring the petition to a vote. In the Eleventh Circuit, “a § 1983 claim alleging a denial of
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procedural due process requires proof of three elements: (1) a deprivation of a

constitutionally-protected liberty or property interest; (2) state action; and (3)

constitutionally-inadequate process.” Grayden v. Rhodes, 345 F.3d 1225, 1232 (11th Cir.

2003). If it determines that state actions deprived the Plaintiffs of a constitutionally-

protected interest, the Court applies the balancing test from Matthews v. Eldridge to

determine what process was due. 424 U.S. 319, 335 (1976); see also Grayden, 345 F.3d at

1232–33.

       In this case, the Plaintiffs cannot show that they were deprived of a constitutionally-

protected interest. First, in bringing their complaint, the Plaintiffs demonstrate that a

deprivation never occurred because there is in fact a process in place: the City Council

members reviewed their petition for de-annexation when it was submitted, and none chose

to sponsor it. Accordingly, under the facts presented by the Plaintiffs, they received

process.

       And even if the claim were not due to be dismissed on those grounds, the Plaintiffs

fail to sufficiently allege that a constitutionally-protected interest is at stake. They argue

that the private interest at stake is their right to “the equal protection of the law.” (Doc. 13

at 10). They explain, “[t]he private interest affected is whether the Plaintiffs have been

afforded equal protection by being treated similarly to those in like circumstances.” (Id. at

10–11). However, as the Court outlined above, the Plaintiffs have failed to allege a

violation of their rights to equal protection, nor is the Due Process Clause the appropriate

means to enforce the right to equal protection.
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       Neither do the Plaintiffs have a property interest that is protected by federal

constitutional law. “The procedural component of the Due Process Clause does not protect

everything that might be described as a ‘benefit.’” Town of Castle Rock, Colo. v. Gonzales,

545 U.S. 748, 756 (2005). Instead, “‘[t]o have a property interest in a benefit, a person

clearly must have more than an abstract need or desire’ and ‘more than a unilateral

expectation of it. He must, instead, have a legitimate claim of entitlement to it.’” Id.

(quoting Bd. of Regents of State Colleges v. Roth, 408 U.S. 564, 577 (1972)). These

entitlements are “not created by the Constitution. Rather, they are created and their

dimensions are defined by existing rules or understandings that stem from an independent

source such as state law.” Roth, 408 U.S. at 577. For example, in Town of Castle Rock, the

Supreme Court looked at Colorado state law to determine whether the plaintiff had a

property or liberty interest in governmental aid. Town of Castle Rock, 545 U.S. at 756–57.

The Court found that the plaintiff did not: “a benefit is not a protected entitlement if

government officials may grant or deny it in their discretion.” Id.

       The Alabama Supreme Court already determined that there is no independent source

of law entitling the Plaintiffs to have their petition for de-annexation heard. See Courtyard

Manor Homeowner’s Ass’n, 2019 WL 5288011, at *3. The Auburn City Council maintains

its discretion to determine when or whether to hold a formal vote on de-annexation

petitions. Without a source of law or otherwise entitling the Plaintiffs to have their petition

heard, the Plaintiffs’ due process claim fails because the Plaintiffs have not alleged a

constitutional right of which they were deprived.
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       Accordingly, the Plaintiffs have not alleged sufficient facts to show that they were

treated differently for unconstitutional reasons, or that they were deprived of a

constitutionally-protected interest. The Plaintiffs’ petition followed the process established

by the City in 2010: the petition was submitted first to the Planning Director, then to the

City Manager, and finally to the City Council members for consideration. The Plaintiffs’

petition thus did receive sufficient consideration from and process by the City.

       Moreover, the common-law separation of powers doctrine weighs on the issues at

hand. See Owen v. City of Independence, 445 U.S. 622, 648 (1980). This doctrine does not

give municipalities discretion to violate the Federal Constitution, but it does “[prevent]

courts from substituting their own judgment on matters within the lawful discretion of the

municipality.” Id. at 649. This Court cannot and will not use its power to force the City

Council members to exercise their discretionary powers and vote when the City used its

legislative discretion in a perfectly legal way.

                                    VI.     CONCLUSION

       The Plaintiffs do not have a right to have their petition for de-annexation publicly

heard under Alabama law, and they have failed to demonstrate any abuse of discretion.

The Court declines to order the City to provide the Plaintiffs with any more consideration

than they already have received. Furthermore, the Plaintiffs’ equal protection claims fail

without allegations of a similarly situated comparator, as does the Plaintiffs’ due process

claim because the Plaintiffs do not have a constitutionally-protected interest at stake.

       Accordingly, it is

       ORDERED that the Defendant’s motion to dismiss (doc. 20) is GRANTED.
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 A separate final judgment will be entered.

 DONE this 13th day of October, 2020.



                                  /s/ Emily C. Marks
                            EMILY C. MARKS
                            CHIEF UNITED STATES DISTRICT JUDGE
